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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                    CASE NO.:



   John Cunningham, on behalf of himself and all
   others similarly situated,

                 Plaintiff,
   v.                                                   CLASS ACTION COMPLAINT

   LMB Mortgage Services, Inc. d/b/a                    JURY DEMAND
   LowerMyBills.com,

                 Defendant


                                 CLASS ACTION COMPLAINT

         Plaintiff John Cunningham, individually and on behalf of all others similarly situated,

  alleges the following against LMB Mortgage Services, Inc. d/b/a LowerMyBills.com

  (“LowerMyBills.com” or “Defendant”).

                                  SUMMARY OF THE ACTION

         1.      On November 28, 2018, Plaintiff received a text message from LowerMyBills.com

  encouraging Plaintiff to refinance his mortgage with LowerMyBills.com. Plaintiff has never been

  a customer of LowerMyBills.com and never consented to receive telemarketing text messages

  from LowerMyBills.com. Plaintiff brings this class action on behalf of himself and others who

  received Defendant’s telemarketing text messages without consenting to receive such messages.

         2.      Plaintiff seeks damages and other equitable and legal remedies resulting from the

  unlawful conduct of LowerMyBills.com in sending telemarketing messages to the cellular

  telephones of Plaintiff and Class members without their prior express written consent, in violation

  of the Telephone Consumer Protection Act, 47 U.S.C. §§ 227, et seq. (“TCPA”).
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                                               PARTIES

         3.        LMB Mortgage Services, Inc. is a Delaware corporation. The LowerMyBills.com

  website identifies LMB Mortgage Services, Inc., a Delaware corporation, as its owner. LMB

  Mortgage Services, Inc.’s principal place of business is located at 12181 Bluff Creek Drive, Suite

  250, Playa Vista, California, 90094. The NMLS Consumer Access website (to which consumers

  are   directed     by   the   LowerMyBills.com        website)   includes    “LowerMyBills”      and

  “LowerMyBills.com” as “Other Trade Names” for LMB Mortgage Services, Inc., and designates

  the website for LMB Mortgage Services, Inc. as “www.lowermybills.com.”

         4.        Plaintiff John Cunningham resides in Miami Springs, Florida. Mr. Cunningham is

  a firefighter for the City of Miami. In his spare time, Mr. Cunningham enjoys spending time with

  his family and volunteers with his church. He and his wife are regular contributors to the Red

  Cross, the Christian Children’s Fund, and the IAFF.

                                    JURISDICTION AND VENUE

         5.        This Court has original jurisdiction under 28 U.S.C. § 1331 based on Plaintiff’s

  claims under the TCPA, 47 U.S.C. § 227, et seq.

         6.        This Court has personal jurisdiction over the Defendant because it directed the text

  message that is the subject of this action to Plaintiff’s cellular phone number. Plaintiff’s cellular

  phone number uses a Florida area code and was, at all relevant times, located in Florida. LMB

  Mortgage Services, Inc., is licensed to conduct, and does conduct, financial services related

  business in the State of Florida, and has had an active Mortgage Broker License (#MBR661) in

  the state of Florida since 2011. Through its operation of the LowerMyBills.com website,

  LowerMyBills.com continuously and systematically operates, conducts, engages in, and carries on

  business in Florida.



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         7.      Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

  part of the events and omissions giving rise to Plaintiff’s claims occurred in this District.

                                    FACTUAL ALLEGATIONS

     A. LowerMyBills.com or its Agent Used an Autodialer to Send a Telemarketing Text
        Message to Plaintiff without First Obtaining his Prior Express Written Consent.

         8.      Plaintiff’s telephone number, (XXX) XXX-9783, is, and at all relevant times has

  been assigned to a cellular service.

         9.      On November 28, 2018, Plaintiff received a text message on his cellular phone

  encouraging him to refinance his mortgage with LowerMyBills.com.

         10.     The text message invited Plaintiff to “see your potential savings in 2 minutes.”

         11.     LowerMyBills.com, or its agent sent the text message using a Short Message

  Service (“SMS”). SMS refers to a messaging system that allows cellular telephone subscribers to

  use their cellular phones to send and receive text messages, usually limited to 120–500 characters.

         12.     The message came from the SMS “short code” 60107. A “short code” is a cellular

  telephone exchange (of typically only five or six digits) frequently used by telemarketers to address

  SMS messages to cellular phones.

         13.     Plaintiff did not provide his cellular phone number to LowerMyBills.com and did

  not consent to receive this text message. He has no prior affiliation with LowerMyBills.com.

         14.     Plaintiff’s cellular phone number has been registered on the national do-not-call

  registry since December 11, 2004.

         15.     LowerMyBills.com is aware of the TCPA’s prohibitions against the use of

  automatic dialing systems and the use of artificial or prerecorded voices to make calls to cellular

  phones without the prior express consent of the called party.




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         16.     LowerMyBills.com has been sued for making unsolicited robocalls to consumers

  whose phone numbers were registered on the national do-not-call list.

         17.     LowerMyBills.com intentionally or willfully caused autodialed, telemarketing

  messages to be sent to the cellular phones of Plaintiff and other consumers without their prior

  express written consent.

         18.     LowerMyBills.com’s text message to Plaintiff had no emergency purpose. Rather,

  the text message was sent for the purpose of promoting LowerMyBills.com mortgage services.

     B. LowerMyBills.com or its Agent Used an Automatic Telephone Dialing System.

         19.     LowerMyBills.com used an ATDS to send its telemarketing text message to

  Plaintiff’s cellular phone.

         20.     The message included generic content about refinancing a mortgage.

         21.     LowerMyBills.com sent similar messages to other consumers from the same SMS

  short code.

         22.     As a marketing lead generator, LowerMyBills.com’s business model requires that

  it be able to contact large amounts of consumers in short periods of time.

         23.     SMS messaging systems are commonly used for bulk advertising because they

  allow for the transmission and receipt of short text messages to and from cellular phones.

     C. LowerMyBills.com’s Violations of the TCPA Harmed Plaintiff.

         24.     Plaintiff carries his cellular phone with him at most times so he can be available to

  family, friends, and his employer.

         25.     LowerMyBills.com’s text message invaded Plaintiff’s privacy and intruded upon

  his right to seclusion. The message interrupted his daily life and wasted his time by requiring

  Plaintiff to retrieve and review the message.



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         26.     LowerMyBills.com’s call intruded upon and occupied the capacity of Plaintiff’s

  cellular phone. LowerMyBills.com’s message interfered with Plaintiff’s use and enjoyment of his

  cell phone by occupying the phone’s memory and storage and by consuming its battery life.

                                 CLASS ACTION ALLEGATIONS

         27.     Plaintiff brings this lawsuit under Federal Rules of Civil Procedure Rules 23(a),

  (b)(2), and (b)(3) as a representative of the following Class:

         Each person within the United States who (i) received any text message from
         LowerMyBills.com or an agent acting on its behalf; (ii) to said person’s cellular
         telephone; (iii) through the use of an automatic telephone dialing system; (iii) which
         text message was not sent with the recipient’s prior express written consent; and
         (iv) which text message was sent for the purpose of encouraging the purchase of
         goods or services.

         28.     Plaintiff reserves the right to amend the class definition following an appropriate

  period of discovery.

         29.     Excluded from the Class are LowerMyBills.com, its employees, agents and assigns,

  and any members of the judiciary to whom this case is assigned, their respective court staff, and

  the parties’ counsel in this litigation. This suit seeks only damages and injunctive relief for

  recovery of economic injury on behalf of the Class; it does not seek recovery for personal injury

  and claims related thereto.

         30.     Because auto-dialing equipment maintains records of each contact, members of the

  above-defined classes can be identified through LowerMyBills.com’s records.

         31.     Numerosity. The exact size of the class is information within the exclusive

  knowledge of LowerMyBills.com, but Plaintiff believes there are at least thousands of Class

  members. This allegation is likely to have evidentiary support after a reasonable opportunity for

  further investigation or discovery. This allegation is based on the following information: (1)

  LowerMyBills.com is a marketing lead generator that is licensed in, and does business in, 45 states


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  and the District of Columbia; and (2) the purpose of automated dialers is to call or text numerous

  persons in a short amount of time.

          32.    The alleged size and geographic dispersal of the Class makes joinder of all Class

  members impracticable.

          33.    Commonality and Predominance. Common questions of law and fact exist with

  regard to each of the claims and predominate over questions affecting only individual Class

  members. Questions common to the Class include:

                 (a)       Whether LowerMyBills.com’s or its agent’s dialing system(s) constitute an

  automatic telephone dialing system under the TCPA;

                 (b)       Whether LowerMyBills.com or its agent used an automatic telephone

  dialing system to send telemarketing text messages to the cellular telephones of Plaintiff and Class

  members without their prior express written consent;

                 (c)       Whether LowerMyBills.com’s text messages were sent knowingly or

  willfully;

                 (d)       Whether Plaintiff and Class members were damaged by receiving

  LowerMyBills.com’s text messages; and

                 (e)       Whether LowerMyBills.com should be enjoined from engaging in such

  conduct in the future.

          34.    Typicality. Plaintiff’s claims are typical of the claims of the Class, in that Plaintiff,

  like all Class members, has been injured by LowerMyBills.com’s uniform misconduct—the use

  of an automatic telephone dialing system to send telemarketing text messages without the receiving

  party’s prior express written consent to receive such messages.




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         35.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

  interests of the Class and is committed to the vigorous prosecution of this action. Plaintiff has

  retained counsel experienced in complex consumer class action litigation and matters involving

  TCPA violations.

         36.     Superiority. A class action is superior to other available methods for the fair and

  efficient adjudication of this controversy. Because the amount of each individual Class member’s

  claim is small relative to the complexity of the litigation, and because of LowerMyBills.com’s

  financial resources, class members are unlikely to pursue legal redress individually for the

  violations detailed in this complaint. Class-wide damages are essential to induce

  LowerMyBills.com to comply with Federal law. Individualized litigation would significantly

  increase the delay and expense to all parties and to the Court and would create the potential for

  inconsistent and contradictory rulings. By contrast, a class action presents fewer management

  difficulties, allows claims to be heard which would otherwise go unheard because of the expense

  of bringing individual lawsuits, and provides the benefits of adjudication, economies of scale, and

  comprehensive supervision by a single court.

         37.     Class    certification   is   also   appropriate   under   Rule   23(b)(2)    because

  LowerMyBills.com has acted and refused to act on grounds that apply generally to the Class such

  that final injunctive and/or declaratory relief is warranted with respect to the Class as a whole.

                                 FIRST CLAIM FOR RELIEF
                 Negligent Violation of the Telephone Consumer Protection Act
                                     47 U.S.C. §§ 227, et seq

         38.     Plaintiff incorporates paragraphs 1–39 by reference.




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         39.     LowerMyBills.com or its agent used an automatic telephone-dialing system to send

  telemarketing text messages to the cellular telephones of Plaintiff and Class members, without

  their prior express written consent.

         40.     The foregoing acts and omissions constitute negligent violations of the TCPA,

  including, but not limited to, violations of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 C.F.R. §§

  64.1200(a)(1)(iii) and 64.1200(a)(2).

         41.     Under 47 U.S.C. § 227(b)(3)(B), and as a result of the alleged negligent violations

  of the TCPA, Plaintiff and Class members are entitled to an award of $500.00 in statutory damages

  for each and every call placed in violation of the TCPA.

         42.     Plaintiff and Class members are also entitled to and seek injunctive relief

  prohibiting future violations of the TCPA.

                              SECOND CLAIM FOR RELIEF
            Knowing or Willful Violation of the Telephone Consumer Protection Act
                                   47 U.S.C. §§ 227, et seq

         43.     Plaintiff incorporates paragraphs 1–39 by reference.

         44.     LowerMyBills.com or its agent used an automatic telephone-dialing system to send

  telemarketing text messages to the cellular telephones of Plaintiff and Class members, without

  their prior express written consent.

         45.     The foregoing acts and omissions constitute knowing and/or willful violations of

  the TCPA, including, but not limited to, violations of 47 U.S.C. § 227(b)(1)(A)(iii) and 47 C.F.R.

  §§ 64.1200(a)(1)(iii) and 64.1200(a)(2).

         46.     Under 47 U.S.C. § 227(b)(3)(C), and as a result of the alleged knowing and/or

  willful violations of the TCPA, Plaintiff and Class Members are entitled to an award of $1,500.00

  in statutory damages for each and every call placed in violation of the statute.



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          47.    Plaintiff and Class Members are also entitled to and seek injunctive relief

  prohibiting future violations of the TCPA.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class defined above,

  respectfully requests that this Court:

                 (a)     Determine that the claims alleged herein may be maintained as a class action

  under Federal Rule of Civil Procedure 23 and issue an order certifying the class defined above and

  appointing Plaintiff as the Class representative;

                 (b)     Award $500 in statutory damages for each and every call that

  LowerMyBills.com or its agent negligently placed in violation of 47 U.S.C. § 227(b)(1) of the

  TCPA;

                 (c)     Award $1,500 in statutory damages for each and every call that

  LowerMyBills.com or its agent willfully or knowingly placed in violation of 47 U.S.C. § 227(b)(1)

  of the TCPA;

                 (d)     Grant appropriate injunctive and declaratory relief, including, without

  limitation, an order requiring LowerMyBills.com to implement measures to stop future violations

  of the TCPA; and

                 (e)     Grant such further relief as the Court deems proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a jury trial on all issues so triable.

   Dated: December 19, 2018                      Respectfully submitted,


                                                 By: Adam M. Moskowitz, Esq.
                                                 Adam M. Moskowitz, Esq.
                                                 Fla. Bar No. 984280

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                                     adam@moskowitz-law.com
                                     Howard M. Bushman, Esq.
                                     Fla. Bar No. 364230
                                     howard@moskowitz-law.com
                                     Adam A. Schwartzbaum, Esq.
                                     Fla. Bar No. 93014
                                     adams@moskowitz-law.com
                                     THE MOSKOWITZ LAW FIRM, PLLC
                                     2 Alhambra Plaza, Suite 601
                                     Coral Gables, FL 33134
                                     Tel: (305) 740-1423

                                     Allan A. Joseph
                                     893317
                                     ajoseph@fidjlaw.com
                                     Jeffrey J. Molinaro
                                     Fla. Bar No. 92494
                                     jmolinaro@fidjlaw.com
                                     Fuerst Ittleman David & Joseph
                                     SunTrust International Tower
                                     One Southeast Third Avenue, Suite 1800
                                     Miami, Florida 33131
                                     Tel: (305) 350-5690

                                     Daniel C. Girard (pro hac vice forthcoming)
                                     Simon S. Grille (pro hac vice forthcoming)
                                     GIRARD GIBBS LLP
                                     601 California Street, 14th Floor
                                     San Francisco, California 94108
                                     Tel: (415) 981-4800
                                     dcg@girardgibbs.com
                                     sg@girardgibbs.com

                                     Counsel for Plaintiff and the Proposed Class




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